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                                CERTIFICATE OF SERVICE


              I, Ann C. Cordo, certify that I am not less than 18 years of age, and that service of

the foregoing First Monthly Application Of RLKS Executive Solutions LLC, As

Consultants To The Debtors And Debtors-In-Possession, For Allowance Of Interim

Compensation And For Interim Reimbursement Of All Actual And Necessary Expenses

Incurred For The Period July 9, 2010 Through July 31, 2010 was caused to be made on

September 9, 2010, in the manner indicated upon the entities identified below.


Date: September 9, 2010                      /s/ Ann C. Cordo
                                                    Ann C. Cordo (No. 4817)

VIA HAND DELIVERY                                VIA FIRST CLASS MAIL

Kevin Callahan, Esq.                             Anna Ventresca
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